U. S. Department of Justice

George E. B. Holding

United States Attorney
Eastern District of North Carolina

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MEMORANDUM FILED

MAY 0 2 2007
DATE: May 2, 2007 , E, CLERK
Y 4s DENNIS P, AVARON ; CLERY
BY. CEP CLK
REPLY TO George E.B. Holding, United States Attorney
ATTN OF: Jason Cowley, Assistant United States Attorney
SUBJECT: United States v. Donald Scott
No. A. O4cr S4-& , Eeseeecn Division
SOeihern
TO: Dennis Iavarone, Clerk of Court

United States District Court
EFastern District of North Carolina

Please issue a warrant for the arrest of the above-named
defendant, and place same, together with a certified copy of the
Indictment, in the hands of the U.S. Marshal for service. Also,
please return a certified copy of the Indictment to this office.

The warrant should be returnable before a U.S. Magistrate
Judge. Detention is recommended.

ce: U.S. Probation Office
U.S. Marshal’s Office

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